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UN|TED STATES DlSTRlCT COURT
EASTERN DlSTRlCT OF MlCHlGAN

JAl\/lES P|PPER,

P|aintiff, CASE NO.:

JOHN TOLFREE HOSP|TAL d/b/a WEST HON:
BRANCH REG|ONAL MED|CAL CENTER, P.C.,
l\/|ANDH|R JAMWAL, M.D. & PR|MARY CARE, P.C.

Defendants.

 

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M

NOW COMES PLA|NT|FF, JAMES P|PPER (hereinafter referred to as

“PLAlNTlFF”), by and through his attorneys, the WE|DENFELLER FlRM, and brings his
Complaint against the above named Defendants, and states as follows:
COUNT | - PART|ES, JUR|D|CT|ON & VENUE

1. Plaintiff, JAMES P|PPER, is and Was, at all relevant times herein, a

resident of the County of l\/laricopa, State of Arizona.
2. Defendant, JOHN TOLFREE HOSP|TAL D/B/A WEST BRANCH
REG|ONAL MED|CAL CENTER, P.C. (a|ternatively referred to as “DEFENDANT”

“DEFENDANTS" OR “DEFENDANT HOSP|TAL"), is and Was a licensed healthcare

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facility with a principal place of business and operating within the County of Ogemaw,
State of Michigan.

3. Defendant, MANDH|R JAMWAL, M.D. (alternatively referred to as
“DEFENDANT" “DEFENDANTS”), is a licensed physician who was practicing medicine
within the County of Ogemaw, State of Michigan, at all relevant times herein,

4. Defendant, PR|MARY CARE, P.C. (alternatively referred to as
“DEFENDANT” “DEFENDANTS” OR “DEFENDANT PR|MARY CARE”), was a licensed
healthcare facility with a principle place of business in the County of Ogemaw, State of
Michigan, at all relevant times herein.

5. This Court has subject matter jurisdiction over the parties pursuant to 28
U.S.C. §1332(3) because there is complete diversity of citizenship and the amount in
controversy exceeds the statutory amount of $75,000.00, exclusive of interest and
costs.

6. Venue is proper in this Court as both the cause of action and the original
injury to the PLA|NT|FF arose in the County of Ogemaw, State of Michigan.

COUNT ll - GENERAL ALLEGAT|ONS

7. PLA|NT|FF incorporates by reference each and every paragraph of this
Complaint as if fully set forth herein and further alleges as follows.

8. That at all times pertinent herein, including, July 6”‘, 7th and 8"‘ of 2014, a
physician-patient relationship existed between all DEFENDANTS and PLA|NT|FF
JAMES P|PPER.

9. That while PLA|NT|FF was a patient in the emergency department at

DEFENDANT HOSP|TAL On Or about July 6, 2014, DEFENDANT MANDH|R JA|V|WAL,

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l\/l.D., owed the PLA|NT|FF the duty to possess that reasonable degree of learning and
skill that is ordinarily possessed by physicians specializing in emergency medicine and to
use reasonable care and diligence in the exercise of his skill and the application of his
learning in the care and treatment of PLA|NTFF, within and in compliance with the
applicable standard of care.

10. That following PLA|NT|FF’S, transfer from the DEFENDANT HOSP|TAL’S
Emergency Department, as an “inpatient admission”, DEFENDANT l\/lANDHlR
JAl\/lWAL, l\/l.D., owed the PLA|NT|FF the duty to possess that reasonable degree of
learning and skill that is ordinarily possessed by physicians specializing in family
medicine and to use reasonable care and diligence in the exercise of his skill and the
application of his learning in the care and treatment of PLA|NT|FF, within and in
compliance with the applicable standard of care.

11. That at all times pertinent herein, DEFENDANT JOHN TOLFREE
HOSP|TAL D/B/A WEST BRANCH REG|ONAL MED|CAL CENTER, P.C., owed
PLA|NT|FF the duty to provide him with competent physician(s), nurses and other
licensed healthcare professionals to diagnose and treat his respective medical conditions
in accordance and within the applicable standards of care pursuant to MCL 333.20141.

12. That at all times herein, including but not limited to, July 6"‘, 7th and 8th of
2014, DEFENDANT MANDH|R JA|V|WAL, M.D., was the actual employee and/or
ostensible agent of DEFENDANT JOHN TOLFREE HOSP|TAL D/B/A WEST BRANCH
REG|ONAL MED|CAL CENTER, P.C., and as such, DEFENDANT JOHN TOLFREE

HOSP|TAL D/B/A WEST BRANCH REG|ONAL MED|CAL CENTER, P.C., Was and iS

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responsible through the doctrine of respondeat superior and/or vicarious liability for the
actions of DEFENDANT l\/lANDHlR JAl\/lWAHL, M.D.

13. That at all times pertinent herein, DEFENDANT PR|MARY CARE, owed
PLA|NT|FF the duty to provide him with competent physician(s), nurses and other
licensed healthcare professionals to diagnose and treat his respective medical conditions
in accordance and within the applicable standards of care pursuant to MCL 333.20141.

14. That at all times relevant herein, including but not limited to, July 6"`, 7th
and 8"‘ of 2014, DEFENDANT MANDH|R JAMWAL, M.D., was the actual employee
and/or ostensible agent of DEFENDANT PR|MAR¥ CARE, P.C., and as such,
DEFENDANT PRll\/lARY CARE P.C., is responsible through the doctrine of respondeat
superior and/or vicarious liability for the actions of DEFENDANT MANDH|R JAMWAHL,
M.D.

COUNT |l| - FACTUAL ALLEGAT|ONS

15. PLA|NT|FF incorporates by reference each and every paragraph of this
Complaint as if fully set forth herein and further alleges as follows.

16. On July 6"1 of 2014, PLA|NT|FF suffered a hamstring tear while
Waterskiing.

17. Upon arrival to DEFENDANT HOSP|TAL, PLA|NT|FF was treated by
DEFENDANT MANDH|R JAl\/lWAL, M.D., in the Emergency Department,

18. Examination revealed a hematoma in the posterior right thigh and venous
dopp|er testing revealed adequate flow within the deep venous structures with extensive

thrombus in the greater saphenous venous system.

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19. At approximately 8:37 p.m., DEFENDANT MANDH|R JAMWAHL, M.D.,
issued an order for Lovenox DVT/PE treatment protocol. PLA|NT|FF was given 5mg
Warfarin (Coumadin) orally at approximately 8:41p.m.

20. PLA|NTlFF was then admitted as an inpatient to DEFENDANT HOSP|TAL,
under the care of the hospital staff and DEFENDANT MANDH|R JAMWAHL, M.D.

21. On July 7th of 2014, at 1121 p.m., an l\/lRl revealed, among other findings,
that PLA|NT|FF suffered full thickness muscle tears in his right leg, which caused a large
hematoma and a large amount of edema.

22. On the evening of July 7"`, PLA|NT|FF’S right leg pain and swelling
continued to increase resulting in limited movement Lab results returned at 11:16 p.m.
evidenced an abnormally low red blood count.

23. PLA|NT|FF’S right leg pain continued to increase, noted as: “10/10” at
1:53 a.m., on July 8, 2014. PLA|NT|FF was given multiple doses of pain medication,
including, morphine, norco and torado| over the next several hours.

24. On the morning of July 8"‘, PLA|NT|FF was evaluated by Patrick Morse,
M.D., who contacted DEFENDANT l\/lANDH|R JAMWAHL, l\/l.D. Due to the
development of compartment syndrome in PLA|NT|FF’S right |eg, DEFENDANT
l\/lANDHlR JAl\/lWAHL, M.D. “held” PLA|NT|FF’S antiocoagulation (i.e., Coumadin and
Lovenox) and ordered the transfer of PLA|NT|FF.

25. PLA|NT|FF was transferred by ambulance to Henry Ford Hospital in
Detroit, Michigan, arriving at approximately 11:20 a.m., on July 8, 2014. PLA|NT|FF

underwent a four (4) compartment fasciotomy surgery with subsequent operations for

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muscle repair, closure of fasciotomy incisions, placement of a wound vac and, ultimately,
closure of the remaining wounds and removal of the wound vac.

26. On July 21, 2014, PLA|NT|FF was discharged from Henry Ford Hospital
and admitted to the Rehabilitation institute of Michigan.

27. On or about July 30’ 2014, PLA|NT|FF was discharged from the
Rehabilitation institute of Michigan, with instructions to continue home therapy for his
right foot drop and to continue treatment in Phoenix, Arizona.

28. Today, PLA|NT|FF has permanent residual neurologic deficits (i.e., right
foot drop), as a result of his compartment syndrome and resultant nerve injury.

COUNT |V - PROFESS|ONAL NEGL|GENCE

29. PLA|NT|FF incorporates by reference each and every paragraph of this
Complaint as if fully set forth herein and further allege as follows.

30. That DEFENDANT MANDH|R JAl\/lWAL, M.D., breached his duties and
obligations owed to PLA|NT|FF and at variance with the applicable standard of care for
emergency medicine, was professionally negligent on or about July 6th of 2014, while
treating PLA|NT|FF in the emergency department, for failing to take the following actions:

a. To timely and properly appreciate the distinction between thrombus
in a superficial vein and DVT;

b. To timely and properly refrain from administering anticoagulation
therapy;
c. To timely and properly appreciate the potential for the development

of compartment syndrome with continued bleeding;

d. Any and all other standard of care violations that may become
known through the course of further discovery in this matter.

31. That DEFENDANT |V|ANDH|R JAMWAL, M.D., breached his duties and

obligations owed to PLA|NT|FF and at variance with the applicable standard of care for

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family medicine, was professionally negligent on or about July 6"“ July 7th and July 8th of

2014, while treating PLA|NT|FF after his admission to DEFENDANT HOSP|TAL, for

failing to take the following actions:

a.

To timely and properly refrain from administering anticoagulation
therapy;

To timely and properly discontinue anticoagulation therapy,
including, but not limited to, upon admission and thereafter;

To timely and properly request a vascular surgical consultation;

To timely and properly follow through with, a hematology
consultation;

To timely and properly recognize the importance of decreasing
hemoglobin and hematocrit levels;

To timely and properly appreciate the distinction between thrombus
in a superficial vein and DVT;

To timely and properly appreciate the potential for the development
of compartment syndrome with continued bleeding;

To timely and properly make patient transfer arrangements;

To timely and properly recognize symptoms of developing
compartment syndrome;

To timely and properly treat the patient;
To timely and properly perform repeat clinical examinations;

Any and all other standard of care violations that may become
known throughout the course of discovery in this matter.

32. That DEFENDANT HOSP|TAL, acting through its employees and/or

agents, including, its staff of physician assistants, nurses, therapists and other licensed

health care professionals, including, but not limited to, DEFENDANT DR. JAMWAL and

l\/l. Waters, RN, breached their respective duties and obligations which were owed to

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PLA|NT|FF, and at variance with the applicable standards of care, were professionally

negligent on July 6"‘, July 7th and July 8th of 2014, by failing to:

a. To timely and properly refrain from administering anticoagulation
therapy;
b. To timely and properly discontinue anticoagu|ation therapy,

including, but not limited to, upon admission and thereafter;
c. To timely and properly request a vascular surgical consultation;

d. To timely and properly follow through with, a hematology
consuhahon;

e. To timely and properly recognize the importance of decreasing
hemoglobin and hematocrit levels;

f. To timely and properly appreciate the distinction between thrombus
in a superficial vein and DVT;

g. To timely and properly appreciate the potential for the development
of compartment syndrome with continued bleeding;

h. To timely and properly make patient transfer arrangements;

i. To timely and properly recognize symptoms of developing
compartment syndrome;

j. To timely and properly treat the patient;
k. To timely and properly perform repeat clinical examinations;

l. To timely and properly notify the attending physician of a significant
drop in hemoglobin and hematocrit levels on the evening of July 7"‘,
2014, and thereafter;

o. To timely and properly contact the attending physician on the
evening of July 7th and into the early morning hours of July 8"‘ when
patient complaints of pain were increasing, including, frequent
administration of pain medication;

p. To timely and properly recognize the potential for complications
related to internal bleeding and to either contact the attending
physician or utilize the chain of command to obtain a prompt
physician evaluation of the patient;

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q. To timely and properly monitor the patient;

r. Any and all other standard of care violation(s), which may become
known throughout the course of further discovery in this matter.

33. That DEFENDANT PR|MARY CARE, acting through its employees and/or
agents, including, but not limited to, DEFENDANT DR. JAMWAL, breached its
respective duties and obligations owed to the PLA|NT|FF, and at variance with the
applicable standards of care, was professionally negligent on July 6"‘, July 7th and July

am of 2014, by failing to;

a. To timely and properly refrain from administering anticoagulation
therapy;
b. To timely and properly discontinue anticoagulation therapy,

including, but not limited to, upon admission and thereafter;
c. To timely and properly request a vascular surgical consultation;

d. To timely and properly follow through with, a hematology
consultation;

e. To timely and properly recognize the importance of decreasing
hemoglobin and hematocrit levels;

f. To timely and properly appreciate the distinction between thrombus
in a superficial vein and DVT;

g. To timely and properly appreciate the potential for the development
of compartment syndrome with continued bleeding;

h. To timely and properly make patient transfer arrangements;

i. To timely and properly recognize symptoms of developing
compartment syndrome;

j. To timely and properly treat the patient;
k. To timely and properly perform repeat clinical examinations;

l. Any and all other standard of care violations that may become
known throughout the course of discovery in this matter.

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34. That as a direct and proximate result of the professional negligence of the
DEFENDANTS, as noted above, in paragraphs number thirty (30), through thirty-three
(33), jointly and severally, the bleeding in the PLA|NT|FF’S right leg continued and
increased, developing into compartment syndrome leading and leading to permanent

muscle and nerve damage, resulting a permanent right foot drop.

COUNT V - DAMAGES

35. PLA|NT|FF repeats and realleges each and every previous paragraph of

this Complaint, as though fully set forth herein.

36. That as a direct and the proximate result of the professional negligence of
the DEFENDANTS, jointly and severally, as hereinbefore alleged, PLA|NT|FF suffered
severe and permanent injuries and damages, resulting in past and future economic and
non-economic losses to PLA|NT|FF. PLA|NT|FF’S economic losses include, but are not
limited to, past and future medical, prescriptive and therapeutic expenses, loss of
household services, losses related to attendant care and non-economic harms and
|osses, including, but not limited to, shock, fright, pain and suffering, loss of enjoyment
of life, scarring, disfigurement, nerve damage and a right foot drop, all of which are
permanent in nature.

37. PLA|NT|FF makes a claim for any and all |osses, economic, non-
economic, past and future, which are recoverable pursuant to statutory and common
law in the amount of seven hundred and fifty thousand dollars ($750,000), not including,
any attorney’s fees, interest, case evaluation sanctions or costs that may be

compensable through the course of this litigation.

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WHEREFORE, PLA|NT|FF demands judgment against DEFENDANTS for the
full amount of his economic, non-economic and compensatory damages, together with
any statutory, court or otherwise allowable interest, costs, sanctions or attorney’s fees,
as this Court deems proper.

Respectfully submitted,

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Dated: December 14, 2016

